 Rev. Willie J. Gallaher
 St. Mary’s Missionary Baptist Church
 1038 Trenton St.
 Harriman, TN 37748
 April 12, 2022


 The Honorable Thomas A. Varlan
 District Judge
 United States District Court in Eastern District of Tennessee
 800 Market Street, Suite 143
 Knoxville, TN 37902


 Your Honor:

 I am writing this letter to plead for your mercy in the sentencing of Darren Payne. I am writing
 on his behalf because I respect the gravity of your calling and your duty to be just and make
 decisions that will result in the best for all parties. I am very aware of the influence that your
 decision has and can have in the life of Darren; as the decision of the late Honorable Judge
 Austin had upon my life when he gave me a second chance to correct my shortcomings in
 school.

 I am very aware that what I faced paled in comparison to the serious drug charges that Darren is
 now facing with the potential for a long prison sentence. Yet, the mercy that you show while
 remaining true to your calling I believe can have a tremendous impact upon Darren and his
 future.

 I have grown up in Roane County, TN and have remained a resident in Harriman after a short
 pursuit of basketball dreams. I look back over my life and along with many others who would
 tell you that 30 years ago; they would have never dreamed that I would be the man that I am
 today. A faithful husband of 28 years in November, a father who has been blessed to have two
 wonderful children; a son who is a successful Insurance agent/financial planner and a daughter
 who was tragically taken from us due to a train accident, a pastor of my home church St. Mary’s
 Missionary Baptist church for the last 7 years of the 20 that I’ve been pastoring, and a high
 school basketball coach at Harriman High for the last 20 years. I am currently bi-vocational as I
 work for the Harriman Utility Board as a Network Administrator. I don’t list all of this to boast
 but I often reflect back on the fact of the decision that the late Honorable Judge Austin made was
 a major part in helping me become the man, the productive citizen, and community leader that I
 am today.

 As I reflect upon Darren; I see a lot of myself in him. As a member of the Harriman community,
 I have known Darren and his family for a long time. I really became more involved in Darren’s


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 life when he started playing Middle School basketball. As a high school coach we try to support
 the athletes of our area and we noticed that Darren had some phenomenal athletic gifts. So as I
 began to watch him from afar; I noticed that Darren did not have a problem doing the work in the
 classroom, but Darren had a little mischievousness about him like most boys at his age. So the
 coaches, including myself would always stay on him along with his parents so that he understood
 that in order to play on the court; he had to maintain off the court. Once he came to high school,
 I noticed that Darren was someone that the other kids looked up to because he had leadership
 qualities. I would watch him during games and practice demand the effort from others as he put
 forth the effort himself. So when I think about Darren and his upbringing; I am confident that he
 has all the tools needed to be a productive citizen who can impact others as he finds the stability
 of himself. I think about the interaction that I witnessed between him and his children before he
 got off course; the love that they had for their dad and the love that he had for them. Before, he
 got off track; everywhere I seen him; I seen his children with him. I was excited to get to coach
 beside one of my former players as he was hired as an assistant coach on the Harriman High
 School boys staff but due to the accident that I mentioned earlier; I took time off and did not get
 to coach that year. But the time that I was able to be around him and watch him coach; he had an
 impact on the young men as they listened to his guidance.

 I know his parents have placed respect and responsibility in his life that is why I was really
 disappointed and hurt when I heard the path that he was going down and now the whole reason
 for this letter. I don’t know the reason Darren has made some of the choices that he made but I
 personally believe that losing the opportunity to coach high school basketball really had an affect
 upon him. As Darren being a part of that coaching staff that year had to take responsibility for
 their actions of coaching their players during AAU which resulted in them having to resign as
 coaches at Harriman. That was a blow to Darren that led to the path that he has found himself on
 at the moment. Basketball has and I believe will always be a part of Darren’s life and losing such
 an opportunity can have an affect that makes one feel they have no purpose.

 Your Honor, I know you deal with similar cases, but Darren is a good person who feels that he
 has lost his purpose and I believe with the right guidance and help; he can find himself to be that
 man, that productive citizen, that father and husband that he has longed to be. Because I believe
 that if I can do it, it is still possible for Darren.

 Thank you for taking the time to consider my thoughts and I trust and pray for you and the
 guidance that is necessary to make the decision that you make.

 Sincerely,




 Rev. Willie J. Gallaher
 Pastor, St. Mary’s Missionary Baptist Church


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